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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

  PERSONALIZED MEDIA                               §
  COMMUNICATIONS, LLC,                             §
                                                   § Case No. 2:15-cv-01366-JRG-RSP
                 Plaintiff,                        §
                                                   §
  v.                                               §
                                                   §
  APPLE, INC.,                                     §
                                                   §
                 Defendant.                        §


                                              ORDER

          Before the Court is the Magistrate Judge’s September 27, 2016 Order (Dkt. 225) denying

   Personalized Media Communications LLC’s (“PMC”) motion for leave to amend its P.R. 3-1

   Disclosure to assert an earlier priority date of U.S. Patent No. 8,191,091. Having considered the

   Objections filed by PMC (Dkt. 233) and finding them to be without sufficient merit,

   the Magistrate Judge’s Order is affirmed, and PMC’s motion for leave to amend its P.R. 3-1

   Disclosure is DENIED. .

           So Ordered this
           Oct 19, 2016
